                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:05CR400-2-W

UNITED STATES OF AMERICA,

        v.                                                       ORDER

ERIC BRANDON SHAW,

                   Defendant.


         THIS MATTER is before the Court on the Defendant’s “Motion For Modification Of Terms

And Conditions Of Pretrial Release” filed February 21, 2007 (document #103). The Defendant asks

to be released from electronic monitoring and house arrest as conditions of supervised release.

         Although defense counsel represents that Pretrial Services Officer Steve Levinsohn does not

oppose the modification, counsel for the Government strenuously object. Essentially, as stated in

the “Response . . . In Opposition . . .” filed February 26, 2007 (document #104), the Government

argues that the Defendant’s Motion should be denied “because (1) he has not come forward with any

new information that would justify a modification; (2) of the seriousness of the offense and the

lenient terms of his existing pretrial release conditions; (3) he has proven himself adept at living

outside the United States; and (4) he is living within minutes of the Mexican border.”

         Some of the Government’s arguments are more persuasive than others; for example, the

Government’s argument that there have been insufficient changes since the Defendant was released

in July 2006 is unpersuasive in that this Court will frequently strike electronic monitoring where

there have been no violations after six months. However, the balance of the Government’s argument

persuades the undersigned that house arrest and electronic monitoring should not be stricken in this

case.



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       Specifically, as the Government argues, offense conduct with which the Defendant is charged

alleges the shameless – and highly successful – targeting of elderly people. Hundreds of victims

collectively lost at least $10 million in a scheme operated from Costa Rica – outside the United

States. Furthermore, the Defendant now resides only 20 miles from the Mexican border. Therefore,

given the seriousness of the charges (and penalties the Defendant faces if convicted), the undersigned

concludes that the current terms of pretrial release should not be modified.

       FOR THE FOREGOING REASONS, the Defendant’s “Motion For Modification Of

Terms And Conditions Of Pretrial Release” is DENIED.

       SO ORDERED.

                                                  Signed: March 2, 2007




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